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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


             v.                                        21. mj. 00079


JACK JESSE GRIFFITH


                                NOTICE OF APPEARANCE

      H. Heather Shaner, appointed by the Court, enters her appearance on behalf of
defendant.


                                        Respectfully submitted,


                                               /hhs/
                                        ___________________________________
                                        H. Heather Shaner #273276
                                        Appointed by the Court
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                                        Washington, D.C. 20009
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